Case 1:05-cv-01119-.]DT-STA Document 13 Filed 07/25/05 Page 1 of 5 Page|D 8
UNITED STATES DISTRICT COURT

EASTERN DlsTRICT oF LOUISIANA
OFF1CE oF THE CLERK

LoRRETrA G. WHYTE 500 PoYDRAs Sr., SUITE C-151
CLERK NEW ORLEANS, LA 70130

Juiy 21, 2005

Robert DiTrolio, Clerk
United States District Court

Western District of Tennessee M_ §§ §§

Jacl<son, TN 38301 ¢_;_";;

In Re: MDL 1657 Vioxx Products Liability Litigation L (3)

 

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Dear Mr. DiTrolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (inc]uding notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide
paper copies of the above documents instead of sileV referringg) your website.
Your prompt attention in this matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589~7704.

Very truly yours,

 

Enclosures
cc: .ludicial Panel on Multidistrict Litigation

OS~l\\Ct

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Your Case Nos. Case Title Our Case Nos.
605-1119 Betty E. Kreider v. Merck & Co., Inc. 05-2963 L (3) ~
T:05-1120 Evelyn S. Ellison v. Mercl< & Co., Inc. 05-2964 L (?l

1105-1 121 Teresa A. Davis v. Sarah Capocaccia, et al 05-2965 L (3)

 

 

  
   

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LORE'ITA.G. WHYTE 5 ct_Eni:J‘ls',EdDFFieE
'DOCKB[WO. 1657

 

 

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ULT|D|STR|CT Lll`lGATlOR
BEFORE THE JUDICIAL PANEL ON AIUL TIDISTRICT LITIGA TION

IN RE VIO/\§t’ PRODUCTS LIAB]LITY LITIGA TION
_(SEE ATTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-I4)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District ofLouisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 140'/'. Since that time, 542 additional actions have been transferred to the Eastern District of

Louisiana. With the consent ofthat court, all such actions have been assigned to the l-lonorable Eldon F..
liailon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

l’ursuant to Rule 7.4 ofthe Rules of Procedure ofthe ludicial Panel on Multidistrict Litigation, 199
F.R_D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
ofLouisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.2d 1352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the lionorable Eldon E. ljallon.

This order does not become effective until it is filed in the Offtce ofthe Clerl< ofthe United States
District Court for the Eastern District ofLouisiana. The transmittal ofthis order to said Clerl< shall be
stayed fifteen (15) days from the entry thereof and ifany party files a notice of opposition with the Clerk
ofthe Panel vvithin this fifteen (1 51 day perio'd, the stay will be continued until further order ofthe Panel.

FOR 'I`HE PANEL:

WQ. Aacjl~

Michael J.VBcck

 

 

Clerk of the Panel

inasmuch aslno_obi@cn)nis CLERK'S QOFF|CE

 

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stay is titled A TRUE COP
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wOrleans, LA dana

 

 

 

 

 

 

 

 

 

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01119 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

